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       Attorney(s) for Display Technologies, LLC
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   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        DISPLAY TECHNOLOGIES,
        LLC,                                    CASE NO.: 2:22-cv-02681-JAK-AFM
  11
                            Plaintiff,          PATENT CASE
  12
        v.
  13
                                                NOTICE OF VOLUNTARY
  14    BOSS INTERNATIONAL                      DISMISSAL WITHOUT
        GROUP, INC. d/b/a PLANET                PREJUDICE
  15    AUDIO SYSTEMS,
  16                        Defendant.
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  19         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this
  20   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
  21   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
  22   by the plaintiff without order of court by filing a notice of dismissal at any time before
  23   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
  24   dismisses this action against Defendant BOSS International Group, Inc. d/b/a Planet
  25   Audio Systems (“Defendant” and/or “Planet Audio”) without prejudice, pursuant to
  26   Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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   2   Dated: June 1, 2022                    Respectfully submitted,
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                                              /s/Stephen M. Lobbin
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   9                                          Attorney(s) for Plaintiff

  10                             CERTIFICATE OF SERVICE
  11
              I hereby certify that on June 1, 2022, I electronically transmitted the foregoing
  12   document using the CM/ECF system for filing, which will transmit the document
  13   electronically to all registered participants as identified on the Notice of Electronic
       Filing, and paper copies have been served on those indicated as non-registered
  14   participants.
  15                                           /s/Stephen M. Lobbin
                                               Stephen M. Lobbin
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                         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
